              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                CIVIL CASE NO. 1:22-cv-00265-MR-WCM


DEANA HOSIE,                )
                            )
              Plaintiff,    )
                            )
vs.                         )                    JUDGMENT
                            )
OMNI HOTELS MANAGEMENT )
CORPORATION,                )
                            )
              Defendant.    )
___________________________ )

     THIS MATTER came for trial and was heard by the undersigned judge,

and a jury was empaneled and answered the issues presented as follows:

     1.     Was the Plaintiff Deana Hosie injured by the negligence of the

            Defendant Omni Hotels Management Corporation?

                  Answer:     YES

     2.     Did the Plaintiff, by her own negligence, contribute to her injury?

                  Answer:     NO

     3.     What amount of damages, if any, is Plaintiff entitled to recover

            as a direct result of the actions of the Defendant?

                  Answer:     $500,000




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      The members of the jury were polled by the Court at the request of the

Defendant and each affirmed and confirmed that the answers to the

questions on the Verdict Sheet was his or her verdict.

      Based on the unanimous verdict of the jury,

      IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that

the Plaintiff Deana Hosie shall recover from, and the Clerk shall enter

Judgment against, the Defendant Omni Hotels Management Corporation for

compensatory personal injury damages in the amount of $500,000, plus

prejudgment interest from December 1, 2022 until the date of entry of this

Judgment at the annual rate of 8% per year simple interest in accordance

with North Carolina General Statutes §§ 24-1 and 24-5(b), plus post-

judgment interest from the date of entry of this Judgment until satisfied in

accordance with 28 U.S.C. § 1961, and the costs of this action. The Plaintiff

shall submit a Bill of Costs to the Clerk.
                          Signed: January 27, 2025




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